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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                               :     No. 4:18-CV-2350
                                        :
            Plaintiff,                  :     (Honorable Matthew W. Brann)
                                        :
      v.                                :     Electronically Filed
                                        :
THE PENNSYLVANIA STATE                  :
UNIVERSITY,                             :
                                        :
            Defendant.                  :


           JOHN DOE’S BRIEF IN OPPOSITION TO DEFENDANT
                 PENN STATE’S MOTION TO DISMISS



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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :
                   Plaintiff                 :
                                             :
            v.                               :     Civil Action No. 4:18-CV-2350

                                             :
THE PENNSYLVANIA STATE                       :
UNIVERSITY                                   :
                                             :
                   Defendants                :


                  JOHN DOE’S BRIEF IN OPPOSITION TO
                   PENN STATE’S MOTION TO DISMISS


      On December 10, 2018, John Doe, a nineteen-year-old, 3rd-year Penn State

Electrical Engineering student, filed a civil rights complaint against the

Pennsylvania State University (“PSU”) seeking monetary damages and an order

invalidating the two-semester suspension imposed based upon a Title IX Hearing

Panel’s finding that he sexually assaulted Jane Roe. Penn State moved to dismiss

the complaint contending that the “disciplinary process. . . gave Doe a sufficient,

meaningful opportunity to ‘respond, explain, and defend.’” PSU’s motion should

be denied because its process deprived Doe of the most basic due process

protections, including the rights to: call witnesses; confront and cross examine his

accuser and adverse witnesses; a fair, unbiased tribunal; the presumption of
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innocence; active and meaningful participation of his attorney “advisor”, and; equal

right to respond to investigator collected evidence.

I.      Factual and Procedural History

        A.      Penn State’s Title IX Protocol

        The Office of Student Conduct (“OSC”) administers PSU’s disciplinary

system and promulgates a Code of Conduct outlining the process’ “standard

procedures and practices.” PSU uses an “Investigative Model” in Title IX cases.1

OSC refers sexual misconduct allegations to the University’s Office of Sexual

Misconduct Prevention and Response (“OSMPR”) which assigns an investigator to

gather “reasonably available” information which may include interviewing the

Complainant, Respondent, and/or any other identified, as well as gathering available

documentary, electronic, or physical evidence.2

        PSU’s policies limit an accused’s ability to obtain meaningful assistance; a

party may consult with an “advisor” who is not permitted to “perform any function

in the process other than advising the party.” Advisors cannot represent, present, or

speak on the advisee’s behalf, and must remain mute during a hearing. 3 The policy

requires “parties . . . [to] ask and respond to questions on their own.” 4


1
 The 11/3/16 version of the OSC policy states the “OSMPR will typically investigate such allegations
utilizing the process articulated at http://titleix.psu.edu/psu-title-ix-procedures/. Exhibit C of Plaintiff’s
Complaint, OSC policy (November 3, 2016).
2 Id. at 3, 13.
3 Id. at 4.
4 Id.




                                                      2
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          The investigator prepares an “Investigative Packet” and provides the parties

with the opportunity to review the draft, and five business days to submit information

or comments, identify additional witnesses or evidence, and submit additional

questions to a party or witness.5 The investigator forwards the final Packet to an

OSC “Case Manager . . . to: recommend charges and sanctions; serve as the

University’s Title IX hearing presenter, and, monitor and mandate the completion of

assigned sanctions.”6 The case manager recommends charges and sanctions if s/he

determines that the investigative packet “reasonably supports a code of conduct

violation.”7 The case manager provides the parties with an opportunity to discuss

the process and five days to submit a written “response to the charges.” 8 When a

respondent contests the charges, the case manager refers the case and the packet to

a Title IX Decision Panel (“Panel”) for a hearing that could result in sanctions

“ranging from Suspension to Expulsion”.9          The Panel is comprised of three

University “staff” or “faculty” chosen by, and under the control of, OSC’s Senior

Director.10 The Code delegates prosecutorial, adjudicative, and sanctioning roles to

the OSC case manager; the OSC provides the “prosecutor” Panel presenter and its

determination that the Packet “reasonably supports” a sexual assault finding.


5   Id.
6 Id. at 3.
7
  Id. at 13.
8
  Id.
9
  Id.
10
   Id. at 3, 13-14.


                                            3
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          The Code prohibits parties from calling witnesses and limits the parties to

“highlight[ing] the information that they feel is most relevant to the hearing

authority’s deliberation” and “respond[ing]” to the Panel’s questions.11 The policy

prohibits cross examination or direct confrontation. Instead, the parties may

“suggest” questions for the Panel to ask of the other party. 12 The Panel will refuse

to pose questions it deems “[ir]relevant” or “[in]appropriate”, an undefined term. 13

The Code prohibits follow-up questions or rebuttal to information elicited in

response to a Panel-posed question. The Panel uses a “preponderance of the

evidence” standard to determine responsibility. 14 The Panel informs parties of its

decision and the right to appeal, and issues sanctions. 15 OSC designates a Student

Conduct Appeals Officer to review any appeal and issue a written determination.16

There is no further avenue for review.

          B.      The Incident17

          In the fall of 2015, 18-year-old Doe and Roe met as Penn State Altoona

freshman. From August to November 2016, Doe and Roe began an on-again, off-

again, predominately sexual, “friends with benefits” relationship, meeting and



11
     Id. at 14.
12
   Id.
13
   Id.
14
   Id. at 15.
15
   Id.
16 Id. at 18
17   See Complaint ¶¶ 32-45.


                                           4
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engaging in sexual intercourse and texting about sex on multiple occasions. On

November 9, 2016, Roe texted Doe that she had “feelings” for him and wanted an

exclusive relationship. Doe texted that he “didn’t want a serious relationship . . . .

[i]f you want we can be friends with benefits and laugh.” On November 11, 2017,

Roe responded, “fine we can be friends with benefits if that’s what you want but

know I won’t be fucking other people right now that’s not what I want but you can

do it on your end if you want.” Doe texted, “Sounds good then” and Roe replied,

“Fine then.”

          On Saturday, November 12, 2016, at about 7:00 p.m., Roe and Doe had

consensual sexual intercourse in Doe’s bedroom. Roe claims they then talked for 3

minutes after which Doe “maybe half” penetrated her anus without consent. Roe

went to a friend’s dorm room and then to a party. Doe denied that they had anal sex.

          Roe texted Doe two and four days later asking him what he was doing, telling

him, “Mm ok goodnight [Doe],” after he texted her that he was going to sleep. In a

December 4, 2016 text, Roe asked to “talk” and Doe responded, “No, please leave

me alone, I found someone that’s why I don’t respond to your texts. [S]top talking

to me.” 18 Roe texted Doe in July 2017, again asking to “talk.” Doe responded

“Yeah, but I have a girlfriend.” Roe stated that she replied, “I hope that you don’t

hurt her like you hurt me.” Doe replied that he did not “remember it happening that


18   Exhibit D of Plaintiff’s Complaint, text messages.


                                                          5
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way” reminding her that she refused to have anal sex after telling him that she had

done so with a mutual friend. Doe consistently denied having anal sex; beginning

with this private conversation before he knew Roe would make a formal complaint.

       C.      Roe’s Complaint and the University’s Disciplinary Process

       On September 12, 2017, Roe filed a Title IX complaint alleging that Doe

penetrated her anus without her consent during their otherwise consensual sexual

encounter. OSC referred the matter to the OSMP "Title IX Compliance Specialist"

Christopher Harris, 19 to investigate and to prepare an Investigative Packet. Harris’

investigation included twice interviewing Roe, and a single interview of Doe, Roe’s

roommate, and Roe’s friend. Harris reopened the “closed” investigation to provide

Roe, who ignored Harris’ attempt to speak with her in the preceding months, a third

opportunity to add to the investigation and reconcile contradictions.

       Roe told Harris that the encounter prompted her to seek medical treatment and

promised to provide treatment records. Roe later refused and later admitted that she

did not report the encounter as nonconsensual to the treatment provider. Harris, who

did not force the issue, effectively prevented Doe and the Panel from reviewing

admittedly this exculpatory record.




19
   In the summer of 2018, Christopher J. Harris was named the University’s new Title IX Coordinator
succeeding Danny Shaha, who served in the role of Title IX Coordinator following the departure of Paul
Apicella in 2017.


                                                  6
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        Harris prepared a November 9, 2017, "Investigative Packet” and gave Doe

five days to respond.20 On information and belief, from approximately November

15, 2017 through January 14, 2018, Harris unsuccessfully attempted to engage Roe

prompting him to forward the Packet to OSC Interim Senior Director Karen

Feldbaum on January 12.21

        In contrast to its hard, policy-dictated deadlines imposed upon Doe, PSU

reopened the investigation on January 19, 2018, to permit Roe to reconcile

discrepancies in her and her witness’ accounts. 22 In spite of the outstanding medical

record request, Harris included her reconciliation of material inconsistencies and

deleted previously included information detailing her failure. Harris violated policy

by sending the Packet directly to OSC without providing Doe with an opportunity

to review, respond or submit information in response to the modifications.

        During a February 27, 2018, meeting, Director Feldbaum told Doe that she

concluded that the Packet “reasonably supported” a conclusion that he sexually

assaulted Roe. Doe requested a hearing. By March 16, 2018, email, Doe requested

that the investigation be reopened so that he could provide his version of events (he

had chosen not to while a criminal prosecution was pending) and respond to the

“new information” that Roe provided following the initial closing of the


20
   Exhibit E of Plaintiff’s Complaint, email communications.
21
   Exhibit F of Plaintiff’s Complaint, email communications.
22
   Id.


                                                   7
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investigation.23 On March 26, 2018, Feldbaum denied Doe’s request without

explanation. On April 2, 2018, Doe provided a written response and text messages

from November 9, 2016, a few days before the incident, and several text messages

from after the incident in which Roe continued in her attempts to be with Doe. 24

          Feldbaum selected a Panel to preside over Doe’s April 20, 2018, “hearing.”

Prior to the hearing, Feldbaum, who by then had become OSC’s Senior Director,

provided the Investigative Packet to the Panel and advised them that the record

“reasonably supported” the conclusion that Doe sexually assaulted Roe. Although

Doe was permitted to make a statement, the Code limited him to “highlighting”

portions of the packet. Roe provided no information regarding the underlying

conduct and allegations and the Panel asked her no questions. Although Doe wanted

to confront and cross-examine Roe and her witnesses regarding contradictory

evidence, the Code prevented him from doing so. Inexplicably, PSU prohibits

confrontation and cross examination of the accuser and witnesses in Title IX

proceedings, while permitting students facing other types of disciplinary charges,

most far less serious, to present live witnesses to a panel comprised of students and

staff and to directly cross examine the accuser and her witnesses. 25




23
     Exhibit G of Plaintiff’s Complaint, email communications.
24
     Exhibit D of Plaintiff’s Complaint, text messages.
25
  11/3/16 OSC policy, Section 5(B)(1)(h) states, "the respondent will be allowed to ask questions of all
witnesses." Exhibit C of the Plaintiff’s Complaint at 11.


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          D.       The Panel’s Decision

          In its April 26, 2018, decision, the Panel found Doe "responsible" for

engaging in nonconsensual intercourse.26 The Panel found that Roe and Doe had a

“sexual relationship” prior to the incident and that Roe was interested in a romantic

relationship. They found that the contact, including intercourse, just prior to the

claimed anal sex was consensual. The Panel noted that although the testimony was

inconsistent regarding whether Doe asked for anal sex, they determined that Doe

“convinced” Roe to have “consensual” sexual intercourse and that afterward he

“tried to have anal.” The Panel noted that Roe claimed that Doe “maybe half”

penetrated her rectum and that she was “more credible” and that it was "more likely

than not" that Doe penetrated or physically attempted to anally penetrate her.

Despite the text records, the Panel found that Roe’s sole reason for going to Doe’s

apartment on November 12th was to “talk”. The Panel determined that Doe was the

“sexual pursuer” because he was only interested in “a sexual relationship with [Roe]

despite her desire for a romantic relationship” and that there was a “pattern . . . of

asking for sex and needing to convince her, ending with non-consensual anal

intercourse. . . .” 27




26
     The decision of the Panel is attached to the Plaintiff’s Complaint as "Exhibit H."
27
     Exhibit H of the Plaintiff’s Complaint.

                                                       9
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           Although the Panel had Roe’s text messages indicating that she was still

interested in a romantic relationship with Doe beginning days immediately following

the incident and ending 8 months later in July of 2017, two months before she levied

her complaint, it nonetheless found it persuasive that Doe “showed a pattern of

distress in seeing [Doe]” after the incident. While the Panel noted that they refused

to credit Doe’s testimony regarding sexual text message exchanges with Roe on

November 10 and 11 because he did not provide physical copies of the texts, it

voiced no issue with Roe’s refusal to provide exculpatory medical records. The

Panel suspended Doe for two semesters from Summer 2018 through Spring 2019.28

           E.      The Appeal

           On May 3, 2018, Doe submitted his appeal 29 to the OSC which referred it to

Yvonne Gaudelius, identified on Penn State’s website as Associate Vice President

and          Senior         Associate          Dean         for   Undergraduate   Education.

http://undergrad.psu.edu/directory.html. On May 15, 2018, Gaudelius denied the

appeal in a boiler-plated memorandum and without explanation, the generic

conclusion that “that there was no failure to follow stated procedures, such that the

outcome would have been different.”




28
     Id.
29
     Exhibit I of the Plaintiff’s Complaint, Appeal.


                                                       10
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II.    Argument 30

       A.     The Plaintiff Has Plausibly Stated a Claim that the
              Defendants Violated His Clearly Established Right to
              Procedural Due Process

       It is beyond cavil that a year-long suspension implicates a protected property

interest 31 and a sexual assault disciplinary record may “impugn [a student’s]

reputation and integrity, thus implicating a protected liberty interest.” 32 Accordingly,

an accused state-funded school student is entitled to procedural due process in a

disciplinary action. 33 The “requirement of due process is a requirement of

fundamental fairness” 34 such that the level of process required varies with the nature

of interests affected and the circumstances surrounding the deprivation. At a

minimum, an accused student must be provided with “notice and an opportunity for

a hearing appropriate to the nature of the case.”35 “Longer suspensions or expulsions




30
   The plaintiff will not recite 12(b)(6) boilerplate law given the Court’s familiarity with the
standard.
31
    Goss v. Lopez, 419 U.S. 565, 581 (1975) (holding that due process required notice and
opportunity to present his side of the story for a ten-day suspension).
32
    Doe v. Univ. of Cincinnati, 872 F.3d 393, 399 (6th Cir.2017)(citing Doe v. Cummins, 662
Fed.Appx 437, 445 (6th Cir. 2016)). See Wisconsin v. Constantineau, 400 U.S. 433, 437, 91 S.Ct.
507 (1971) (holding that where “a person's good name, reputation, honor, or integrity is at stake
because of what the government is doing to him,” the minimal requirements of due process must
be satisfied).
33
   Furey v. Temple Univ, et al., 884 F.Supp.2d 223, 246 (E.D. Pa. 2012).
34
   Id.
35
   Id.(citing Goss v. Lopez, 419 U.S. 565, 579, 95 S.Ct. 729 (1975)).

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for the remainder of the school term, or permanently, may require more formal

procedures.”36


       “When it comes to due process, the ‘opportunity to be heard’ is the

constitutional minimum.” 37 To identify “the specific dictates of due process,” our

district courts consider the three factors identified in Mathews v. Eldridge38:

        First, the private interest that will be affected by the official action;
        second, the risk of erroneous deprivation of such interest through
        procedures used, and the probable value, if any, of additional or
        substitute procedural safeguards; and finally, the Government’s
        interest, including the function involved and the fiscal and
        administrative burdens that the additional or substitute procedural
        requirement would entail. 39
Therefore, due process is “not a technical conception with a fixed content unrelated

to time, place and circumstances;” 40 Instead, due process requires a “flexible”

standard and “calls for such procedural protections as the particular situation

demands.”41




36
   Goss v. Lopez, 419 U.S. 565, 583 (1975).
37
   Doe v. Baum, 903 F.3d 575, 581 (6th Cir. 2018) citing Grannis v. Ordean, 234 U.S. 385, 394
(1914).
38
   424 U.S. 319, 335 (1976).
39
   Furey v. Temple University, 730 F.Supp.2d 380, 394 (E.D. Pa. 2010). The District Court in
Furey determined, on the basis of Biliski v. Red Clay Consol. Sch. Dist. Bd. Of Educ., 574 F.3d
214 (3d Cir. 2009), that the Mathews v. Eldridge factors should be considered in determining the
process that is due in school disciplinary proceedings.
40
   Mathews v. Eldridge, 424 U.S. 319, 334 (1976)(internal citations omitted).
41
   Id. (internal citations omitted).

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          When credibility is at issue in a more serious charge, “the importance of a fair

tribunal, where the testimony of all of the witnesses is examined for truthfulness, is

heightened.”42 In circumstances similar to where credibility of the accuser and of

her account is the only consideration for the decision maker, due process demands

the right to confront and cross-examine the accuser and adverse witnesses; a fair,

unbiased and unconflicted hearing panel; the presumption of innocence; and, the

active and meaningful participation of an accused’s attorney “advisor”.

          1. The Constitution Guarantees an Accused Student the Right to
             Confront Adverse Witnesses During “He said/She said” Sexual
             Misconduct Disciplinary Hearings

          Doe has the right to confront adverse witnesses when the information supplied

by those witnesses is the reason for the adverse action and there is a credibility

question to be resolved by the fact finder. 43 In Goldberg,44 the Supreme Court held

that the Due Process requires an evidentiary hearing before the government could

terminate a welfare recipient’s benefits. The Court held that while there is no right

to a formal trial, due process requires an opportunity for the aggrieved person to

confront and cross-examine adverse witnesses.45 The Court said, “[I]n almost every




42
     Furey v. Temple, et al., 884 F.Supp.2d 223, 254 (E.D. Pa. 2012).
43
   Goldberg v. Kelly, 397 U.S. 254 (1970); Winnick, 460 F.2d at 549; Gorman, 837 F.2d at 16; Univ of
Cincinnati, 872 F.3d at 401.
44
   Goldberg v. Kelly, 397 U.S. 254 (1970).
45
   397 U.S. at 269-270.


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setting where important decisions turn on questions of fact, due process requires an

opportunity to confront and cross-examine adverse witnesses.”46

          In Winnick v. Manning 47, the Second Circuit held that there was no

requirement that a student be able to cross-examine a witness whose testimony is not

determinative to the outcome of the disciplinary hearing.48          Significantly, the

Winnick court noted, “if this case had resolved itself into a problem of credibility,

cross-examination of witnesses might have been essential to a fair hearing.” 49 In

Gorman v. University of Rhode Island,50 the First Circuit observed that a school

complies with constitutional requirements by providing a student “the opportunity

to cross-examine his accusers as to the incidents and events in question.”51 The

Gorman court further observed that while there is no right to “unlimited” cross-

examination, due process requires some cross-examination to permit an accused to

elicit “the truth about the facts and events in issue.”52

          More recently, in Doe v. University of Cincinnati 53, the Sixth Circuit held:

“Accused students must have the right to cross-examine adverse witnesses in the




46
     Id.
47
     460 F.2d 545 (2nd Cir. 1972).
48
   Id. at 549.
49
   Id. at 550.
50
   Gorman v. Univ. of R.I., 837 F.2d 7 (1st Cir. 1988).
51
   837 F.2d at 16.
52
   Id.
53
   Doe v. University of Cincinnati, 872 F.3d 393 (6th Cir. 2017).

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most serious of cases.” 54 In that case, the court considered a situation where the

alleged victim did not appear at an accused student’s disciplinary hearing. The court

observed:

       The right to cross-examine witnesses generally has not been
       considered an essential requirement of due process in school
       disciplinary proceedings. However, general rules have exceptions,
       and “the very nature of due process negates any concept of inflexible
       procedures universally applicable to every imaginable situation. 55

Applying the Mathews test, the court held that the absence of cross-examination

violates an accused student’s right to due process because it impacts the reliability

of the entire process. The court said:

       [The school] assumes cross-examination is of benefit only to [the
       accused student]. In truth, the opportunity to question a witness and
       observe her demeanor while being questioned can be just as
       important to the trier of fact as it is to the accused…Few procedures
       safeguard accuracy better than adversarial questioning. 56

The court further elaborated on cross examination’s indispensability to the entire

adjudicative process:

       But if a university’s procedures are insufficient to make issue[s] of
       credibility and truthfulness...clear to the decision makers, that
       institution risks removing the wrong students, while overlooking
       those it should be removing. The concern would be mostly
       academic if the disciplinary process were a totally accurate, unerring
       process, never mistaken and never unfair. Unfortunately, that is not
       the case, and no one suggests that it is. Cross-examination, the
       principal means by which the believability of a witness and the truth

54
   872 F.3d at 401, quoting Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 636 (6th Cir. 2005).
55
   872 F. 3d at 400 (internal citations omitted).
56
   872 F.3d at 401 (citations omitted).

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        of his testimony are tested, can reduce the likelihood of a mistaken
        exclusion and help defendants better identify those who pose a risk
        of harm to their fellow students.57

     In Furey v. Temple University,58 a case not involving sexual assault allegations,

the court held that due process required that the plaintiff be permitted to cross-

examine witnesses. 59 The court observed that the purpose of cross examination is to

permit the accused to challenge the credibility and truthfulness of witnesses, and

particularly where facts are in dispute and witness credibility is important, cross-

examination of witnesses is “an important safeguard.”60 “Due process requires

cross-examination in circumstances like these because it is the greatest legal engine

ever invented for uncovering the truth.”61 The Sixth Circuit similarly reasoned:

         Cross-examination is essential in cases like Doe’s because it does more
         than uncover inconsistencies—it takes aim at credibility like no other
         procedural device. Without the back-and-forth of adversarial
         questioning, the accused cannot probe the witness’s story to test her
         memory, intelligence or potential ulterior motives. Nor can the fact-
         finder observe the witness’s demeanor under that questioning. 62
        The Department of Education’s Office of Civil Rights proposed regulation,

although not controlling, reflects its conclusion that Due Process require a “live

hearing” at which cross-examination must be permitted and conducted by a party’s


57
   Id. at 403 (citations omitted)
58
   Furey v. Temple University, 884 F. Supp. 2d 223 (E.D. Pa. 2012).
59
   Id. at 252.
60
   Id. at 252.
61
   Doe v. Baum, 903 F.3d 575, 581 (6th Cir. 2018) (internal citation omitted).
62
   Id. at 582.

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“advisor.”63 This requirement is consistent with trending case law in which courts

increasingly stress cross examination’s importance in achieving fair sexual assault

adjudications, particularly when credibility is at issue.64

       In Doe’s he said/she said credibility driven adjudication, PSU’s policies fell

short of protecting Doe’s due process rights. To the contrary, PSU handcuffed Doe

by requiring him to submit “suggested” questions to a Panel which then decides

whether the inquiry is “relevant” and “appropriate” – a term which PSU fails to

define or cabin. 65 PSU policy does not provide an accused with the ability to pose

follow up questions or to introduce previously unidentified impeachment evidence.

The Court should swiftly reject PSU’s contention that this funneled and filtered

questioning, without an ability to follow up or impeach, suffices as meaningful cross

examination. Due process requires the “back-and-forth of adversarial questioning”


63
   Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
Financial Assistance, 83 Fed. Reg. 61462 at 61498 (proposed November 29, 2018). See attached
hereto as Exhibit 1.
64
   Doe v. Baum (University of Michigan) 903 F.3d at 578; Doe v. University of Cincinnati, 872
F.3d 393, 399-402 (6th Cir. 2017) ("[t]he ability to cross-examine is most critical when the issue
is the credibility of the accuser."); Doe v. Univ. of S. California, 29 Cal. App. 5th 1212, 1233, 241
Cal. Rptr. 3d 146, 163 (Ct. App. 2018), reh'g denied (Dec. 27, 2018) (decision-maker must be able
to see witness respond to questions); Doe v. Claremont McKenna College (CMC) 25 Cal.App.5th
1055, 1070 (2nd Appl. Dist., Div. 1, 2018); Doe v. University of Michigan, No.2:18-cv-11776-
AJT-EAS, Docket 30, (S.D.MI. July 6, 2018); Doe v. Alger (James Madison University), 228 F.
Supp. 3d 713, 730 (W.D. Va. 2016); Lee v. The University of New Mexico, Case 1:17-cv-01230-
JB-LF, pp. 2-3 (D. NM. 2018); Doe v. University of So. Miss., No. 2:18-cv-00153 (S.D. Miss.
Sept. 26, 2018); Doe v. Penn. State University, No. 4:18-CV-00164, 2018 U.S. Dist. LEXIS
141423 (M.D. Pa. Aug. 21, 2018).
65
   E.g., Doe v. Pennsylvania State Univ., 336 F.Supp. 3d 441, 450 (M.D. Pa. 2018)(court noting
no guidelines exist in PSU’s Code of Conduct to guide discretion of investigator with choosing to
ask or rephrase questions requested by accused to ask of accuser).

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when an accuser’s credibility is the key to ensuring an accurate result from the

decisionmaker. 66

       To be clear, Doe is not asserting that there is an unlimited right to cross-

examination in school disciplinary proceedings or that stating a viable claim on this

issue requires the Court to adopt an all or nothing approach. While he acknowledges

that the outer-parameters of that right may be, as yet, ill-defined, confrontation and

cross examination when there are material factual disputes whose resolution

revolves around “he said/she said” credibility determinations falls squarely within

the Due Process heartland.

       2. The Constitution Guarantees Doe the Right to Advisor
          Participation

       Although Furey held that having counsel advising at the hearing and through

the disciplinary process was sufficient in an aggravated assault of a police officer

case which did not involve a pending criminal charge issue, the court acknowledged

different circumstances may require heightened due process protections. 67 The

Third Circuit has “not directly faced the question of whether procedural due process

gives an accused student the right to have her counsel actively participate in her




66
  Doe v. Baum, 903 F.3d 575, 581-583 (6th Cir. 2018)
67
  Furey, 884 F.Supp. 2d at 35 (“Courts have also speculated that due process could require active
representation by counsel when the school’s case is presented by an attorney or the procedures are
unusually complex”).

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student disciplinary hearing.” 68 While other district courts in our Circuit confronted

the question of whether students are generally entitled to attorney advisors and found

that no such entitlement exists, these cases were generally not “he said/she said”

sexual assault cases that turned on believing the accuser or the accused. 69

       In Baum, the Sixth Circuit recognized that the accused student may not always

have the right to personally confront his accuser and other witnesses.

         [I]n circumstances like these, the answer is not to deny cross-
         examination altogether. Instead the university could allow the accused
         student’s agent to conduct cross-examination on his behalf. After all,
         an individual aligned with the accused student can accomplish the
         benefits of cross-examination—its adversarial nature and the
         opportunity for follow-up—without subjecting the accuser to the
         emotional trauma of directly confronting her alleged attacker.70

The U.S. Department of Education’s Office of Civil Rights (“ED/OCR”) proposed

a regulation requiring University’s to permit advisor cross examination at live

hearings. 71 Allowing cross-examination through an attorney-advisor in sexual

assault cases would provide the benefits of cross examination while balancing the




68
    Haney v. West Chester Univ., C.A.No. 18-02456, 2018 WL 3917975 at *8 (citing Simms v. Pa.
State Univ.-Altoona, 2018 WL 1413098, at 5 (W.D. Pa. 2018).
69
   E.g., Furey, 884 F. Supp. 2d at 231, 253 (disciplinary proceeding for alleged aggravated assault
of an officer); Osei v. Temple Univ. of Commonwealth Sys. of Higher Educ., No. CIV.A. 10-2042,
2011 WL 4549609, at 10 (E.D. Pa. Sept. 30, 2011), aff'd sub nom. Osei v. Temple Univ., 518 F.
App'x 86 (3d Cir. 2013) (student charged under school code for sending threatening emails to
university faculty).
70
    Doe v. Baum, 903 F.3d 575, 583 (6th Cir. 2018)(opining that adversarial cross-examination
could be achieved via modern technology such as Skype or through questioning by an accused
student’s agent instead of direct cross-examination by the accused).
71
   83 Fed. Reg. 61462 at 61498 (proposed November 29, 2018). See Exhibit 1.

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concerns of inflicting unnecessary trauma on a complainant through personal

confrontation with the respondent.72

       3. Penn State’s Failure to Provide Doe With a Fair Process and
          Unbiased Decisionmakers Violated the Constitution

           a. Penn State Violated the Constitution by Failing to Limit the
              Investigator’s Power to Funnel and Filter Evidence,
              Including Exculpatory Evidence, Related to the Accusation.

       Penn State’s policy delegated a “neutral fact-finding” role to Investigator

Harris making him, in effect, an information funnel: he alone decided what to include

or exclude from the Packet; who to interview; how much or how little to follow-up

on leads; how to characterize the information he had received, and; whether to

pursue or require (in this case) known exculpatory information that the accuser

promised to provide. He alone decided what was “relevant” and “appropriate”. The

policy did not require Harris to share with Doe the information he has excluded or

witnesses he decided not to interview, let alone why. Worse yet, Doe was given no

opportunity to challenge Mr. Harris “appropriateness” filter. As a result, the process



72
   On November 16, 2018, the U.S. Department of Education released its proposed Title IX
regulations which includes due process protections such as presumption of innocence throughout
the grievance process; written notice of allegations and an equal opportunity to review all evidence
collected, and the right to cross-examination in a live hearing where the cross-examination would
be conducted through the parties’ advisors. In support, the regulations state that the “Department
has determined that at institutions of higher education, where most parties and witnesses are adults,
grievance procedures must include live cross-examining at the hearing.” See Id. The proposed
regulations balance “the importance of cross-examination with any potential harm from personal
confrontation between the complainant and the respondent by requiring questions to be asked by
an advisor aligned with the party.” Id.

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did not permit Doe to challenge, or provide additional context to inform, Harris’

relevancy and appropriateness determinations. 73 As such, these are practically the

same procedures that were in place in Doe v. Pennsylvania State University74 where

the testimony “filtered” through an investigator with little to no visibility into the

guidelines or parameters guiding the investigator or “cabining his discretion.”75

Although there were minor changes to the Code, such as the Investigator forwarding

the Investigative Packet to the Case Manager for a “pre-hearing” disposition—this

effectively only adds to the bureaucracy but does not functionally provide greater

due process or greater protections when credibility is critical to the matter.


           b. Penn State Violated the Constitution by Failing to Provide
              Doe With a Process that Followed its Own Rules and that was
              Fair and Equitable.

        “[I]nconsistent application of procedures” and “significant and unfair

departures from an institution’s procedures can amount to a violation of due

process.”76 Penn State permitted Doe’s accuser to ignore Mr. Harris’s various

entreaties over the course of at least two months, including multiple requests to



73 E.g., Doe v. Ohio State Univ. 311 F.Supp.3d 881, 892-893 (S.D.Ohio. 2018)(finding that cross-
examination is essential to due process in a case turning on “choice between believing an accuser
and accused” and court opined additional protections were due to correct false statement by
complainant or provide “the accused with the necessary information to impeach a critical
witness.”).
74 Doe v. Pennsylvania State University, 336 F.Supp. 3d 441, 449-450 (M.D.Pa. 2018).
75
   Id. at 450.
76
   Johnson v. Temple University--of Commonwealth System of Higher Educ., 2013 WL 5298484,
at 8 (E.D.Pa.,2013)(internal quotations and citations omitted).

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provide promised medical records. Harris closed the investigation and submitted the

Packet to OSC because the accuser repeatedly ignored him and the deadline he set

for her response had passed. Notwithstanding this, Penn State permitted Roe to

strengthen her allegation and resolve material inconsistencies after the investigation

closed. Harris immediately forwarded the accuser’s modifications and explanations

to Ms. Feldbaum without, as its policy required, providing Doe with an opportunity

to review and respond. Ms. Feldbaum, without explanation, and in contrast to the

opportunity afforded Roe, denied Doe’s subsequent request to reopen the

investigation.

          c. Penn State Violated the Constitution by Failing to Provide
             Doe With an Unbiased Tribunal.

       “An impartial and unbiased adjudicator is a fundamental part of due

process.”77 In Withrow v. Larkin 78, the Supreme Court noted, “various situations

have been identified in which experience teaches that the probability of actual bias

on the part of the judge or decision-maker is too high to be constitutionally

tolerable.” A biased process is not fair; “due process demands impartiality on the

part of those who function in judicial or quasi-judicial capacities.” 79




77
   Furey v. Temple Univ., 884 F.Supp.2d, 223, 255 (E.D.Pa. 2012).
78
   421 U.S. 35, 47 (1975).
79
   McClure, 456 U.S. at 195.

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       Penn State’s policy tasked Mr. Harris with preparing an Investigative Packet

that reported on information he deemed relevant and appropriate which he then

provided to OSC. Director Feldbaum made decisions regarding credibility and

responsibility using “the information in the packet reasonably supports a code of

conduct violation” standard. 80 After having made this probable cause-like

determination, Feldbaum proposed sanctions.81 Penn State delegated prosecutorial

and adjudicative roles to Feldbaum who presented the University’s case to a Panel

she selected and oversaw, along with her “pre-hearing” conclusion that the Packet

reasonably supported a finding that Doe sexually assaulted Roe along with the all-

but-dispositive implication that Roe was credible and Doe was not.

       While Doe acknowledges a general administrative proceeding fairness

presumption and that Panel prejudice allegations must be “ based on more than mere

speculation and tenuous inferences.”82 In Doe’s case, Penn State undermined the

integrity of his process because the (1) Code delegated prosecutorial, adjudicative,

and sanctioning roles to the OSC, and (2) the OSC Case Manager’s “pre-hearing

finding” substantially lessens the Title IX Decision Panel’s fact-finding and


80
   Although Penn State does not define “reasonably supports”, it would be disingenuous for them
to dispute that there is very little, if any, distance between this and the Panel’s preponderance
standard.
81 Although “reasonably supports” is not defined, it would be disingenuous for PSU to argue that

there is any significant difference between this and the Panel’s preponderance standard.
82
   Gorman v. Univ. of Rhode Island, 837 F.2d 7, 15 (1st Cir. 1988), citing Duke v. North Texas
State Univ., 469 F.2d 829, 834 (5th Cir. 1972).

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adjudicatory autonomy,. 83 The presumption of guilt embedded in Feldbaum’ s pre-

hearing determination, in effect, reversed the burden of proof, relegating the Panel

to a role more akin to an appeal tribunal.

            d. Penn State Violated The Constitution By Using The Lowest
               Standard Of Evidence In Finding Doe Responsible for A
               Quasi-Criminal Charge of Sexual Assault

        In the Third Circuit, district courts have given significant weight to the

accused’s interests implicated by an adverse finding.84 Doe’s private interests in this

case are substantial—the right to his continued education at PSU, damaged academic

and professional reputations, and affected ability to enroll at other institutions of

higher education and to pursue a career.85 This interest has been described by other

83
   See Doe v. Brandeis Univ., 177 F.Supp. 3d 561, 606 (D.Mass. 2016)(“The dangers of combining
in a single individual the power to investigate, prosecute, and convict, with little effective power
of review, are obvious. No matter how well-intentioned, such a person may have preconceptions
and biases, may make mistakes, and may reach premature conclusions.”).
84 E.g., Doe v. Pennsylvania State Univ., M.D. Pa. No. 4:18-CV-00164, 2018 U.S. Dist. LEXIS

141423, at 11 (Aug. 21, 2018) (observing that “in addition to a tarnished disciplinary record, he is
also facing the stigma of being labeled “responsible” for engaging in nonconsensual sexual
intercourse); Park v. Temple Univ., E.D.Pa. No. 16-5025, 2018 U.S. Dist. LEXIS 46765, at 4 (Mar.
20, 2018) (“It is quite obvious that [the student] had an interest in remaining” at the university);
Johnson v. Temple Univ., E.D. Pa. No. 12-515, 2013 U.S. Dist. LEXIS 134640, at 22 (Sep. 19,
2013) (“clearly [the student’s] private interests are significant”).
85
   See Doe v. Miami University, 882 F.3d 579, 600 (C.A.6 (Ohio), 2018); The private interest at stake
in this case is substantial. “A finding of responsibility for a sexual offense can have a ‘lasting impact’ on a
student's personal life, in addition to his ‘educational and employment opportunities,’ especially when the
disciplinary action involves a long-term suspension.” Univ. of Cincinnati, 872 F.3d at 400
(quoting Cummins, 662 Fed.Appx. at 446); see also Ellman–Golan, Saving Title IX: Designing More
Equitable and Efficient Investigation Procedures, supra, at 175 (An individual accused of sexual
misconduct “will see his own rights curtailed. He may be forced, even as an interim measure, to move out
of university housing or to withdraw from certain classes or to avoid a certain dining hall during certain
periods of time. He may be suspended or expelled from school.... And as some states ... begin to pass
legislation requiring schools to note on a student's transcript whether the student was suspended
or expelled for sexual misconduct, he may face severe restrictions, similar to being put on a sex
offender list, that curtail his ability to gain a higher education degree.” (internal citations omitted)).

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circuits as “compelling” for Mathews test purposes. The Sixth Circuit said, “A

finding of responsibility will…have a substantial lasting impact on [students’]

personal lives, educational and employment opportunities, and reputations in the

community. 86 The First Circuit has said, “The interests of students in completing

their education, as well as avoiding unfair or mistaken exclusion from the

educational environment, and the accompanying stigma are, of course,

paramount.”87

       The preponderance of evidence standard, when combined with anemic

procedural protections, is simply inadequate in sexual assault disciplinary actions

where the consequences are significant and far reaching for wrongfully accused

students. 88 Disciplinary proceedings for Title IX sexual assault matters are quasi-

criminal with long-lasting impacts for the accused. Given the significant interests at

stake for the accused and the university’s interest in “impartially adjudicating quasi

criminal sexual misconduct allegations,” an elevated standard of proof should

apply. 89



Thus, the effect of a finding of responsibility for sexual misconduct on “a person's good name,
reputation, honor, or integrity” is profound. See Goss v. Lopez, 419 U.S. 565, 574 (1975).
86
    Doe v. Cummins, 662 F.App’x 437, 446 (6th Cir. 2016, citing Goss, 419 U.S. at 574-75.
87
    Gorman, 837 F.2d at 14.
88
   E.g., Lee v. the Univ. of New Mexico, 1:17-cv-01230-JB-LF (D.N.M. Sep. 20, 2018)(concluding
that “preponderance of evidence standard is not the proper standard for disciplinary investigations
such as the one that led to Lee’s expulsion, given the significant consequences of having a
permanent notation such as the one UNM placed on Lee’s transcript).
89
   See Plummer v. Univ. of Houston, 860 F.3d 767, 782-83 (5th Cir. 2017)(Jones, J.,
dissenting)(“Elevating the standard of proof to clear and convincing, a rung below the criminal

                                                25
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III.   Conclusion


       For the reasons expressed above, the Defendants’ motion to dismiss should

be denied.


                                                    Respectfully Submitted,



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burden, would maximize the accuracy of factfinding”); see also Doe v. Univ. of Mississippi, 3:18-
cv-00138-DPJ-FKB (S.D. Miss. 2019).

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                       CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing brief complies with the word-count limit

set forth in Local Rule 7.8(b)(2) in that it contains 4,788 words, as determined by

the word count feature of the word-processing system used to prepare the brief.



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                        CERTIFICATE OF SERVICE

      I hereby certify that on the date set forth below, I caused a true and correct

copy of the foregoing John Doe’s Brief in Opposition to Defendant Penn State’s

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